          Case 1:23-cv-03720-SCJ Document 24-1 Filed 09/21/23 Page 1 of 1


                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA

                                                       )
______________________________,
The State of Georgia,                                  )
                                 Plaintiff(s)          )
                                                       )         Case No. 1:23-cv-3720
                   V.                                  )
                                                       )
______________________________,
David James Shafer,                                    )
                    Defendant(s)                       )


                         NOTICE OF FILING OF OFFICIAL TRANSCRIPT

        Notice is hereby given that an official transcript of a proceeding has been filed by the
court reporter/transcriber in the above-captioned matter. Counsel/Parties have twenty-one (21)
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                    ______________
                    9/21/2023                   __________________________________
                                                Diane Peede
                           Date                             Court Reporter


                        VERIFICATION OF FINANCIAL ARRANGEMENTS

         Proceeding Type:            ______________________________________________
                                     An evidentiary hearing
                                     ______________________________________________
         Proceeding Date:            ______________________________________________
                                     9/20/2023
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_____________________________________________________________________________
as counsel/party in this case. He/She is to be provided with remote access to the transcript via
CM/ECF and PACER.

                    ______________
                    9/21/2023                   __________________________________
                                                Diane Peede

                           Date                             Court Reporter
